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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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VINCI BRANDS LLC,

                              Plaintiff,
                                                                   Civil Action No.: 23-cv-05138
                   v.

COACH SERVICES, INC., KATE SPADE, LLC,                             Hon. Lorna G. Schofield, U.S.D.J.
TAPESTRY, INC., AND CASE-MATE, INC.,                               Hon. Valerie Figueredo, U.S.M.J

                              Defendants.
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                                    ORDER TO FILE UNDER SEAL

        Upon Vinci Brands LLC’s Motion to File Under Seal Certain Exhibits to Its Proposes Third

Amended Complaint, filed the 3rd day of July, 2024 (the “Motion to Seal”) it is hereby


ORDERED that Exhibits S, V, and Y are provisionally filed under seal, pending a motion to seal

by KSNY which should be filed within 30 day, and Exhibits M and J are filed under seal, with

viewing rights limited to the persons identified in the Appendix to the Motion to Seal


Dated: July _8_, 2024

                                            _________________________________
                                              United States Magistrate Judge
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